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Your Honor,



I am writing to petition the court for an early release from my supervised release. I have
satisfactorily completed 4 out of 5 years of my supervised release. I have been in full compliance
with all court mandated conditions. I have consistently tested negative on all my drug tests. I
have remained gainfully employed throughout my supervision term and have secured and
established my own personal residence.



Aside from my performance on supervised release, personally, I have challenged myself in ways
I could have never imagined. I have pushed myself to obtain my Associate’s Degree in Social
Science from Essex County Community College. Additionally,in September 2018, I was
accepted into the Political Science Bachelors Program at Rutgers University. I have also been
accepted into the dual BA/MA Political Science program as of May 2019. lam 6 Credits away
from fulfilling the baccalaureate requirements of my dual program and 12 credits in on the
Master’s portion of my program. I am currently employed by Rutgers University as a consultant
for the Office of Information Technology. While remaining employed and being accountable to
my probation officer, I have maintained a 3.6 average (WA throughout my collegiate career.



Since the age of 12, 1 have not been a “free and productive” citizen for more than 2   ‘/2   years. I am
a changed individual, and although I am grateful for all my life experiences, because they have
made me the resilient person I am now, focused and driven, I can honestly say I have suffered
mental and physical anguish for the crimes I have committed in the past and am remorseful. My
experience on supen’ised release has taught me a lot about myself and with all the lessons and
resources I have obtaincd throughout these years, I am ready to give back to my community and
I will continue to be a law abiding citizen. I ask that you provide me with my full freedom so I
can continue to grow as an individual, student, son and citizen of the United States. This will also
allow me to be eligible for future student grants/scholarships/jobs and the privilege to vote.
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Thank you for taking the time to read my letter. Please take my words into consideration when
making your decision. If you have additional questions or concerns please feel free to contact me
at (973)-568-1 877.   You   may also reach my probation officer Ms. C’howdhury at (862)-229-5578.



Respectfiully submitted,



Wallace Winstead
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